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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Chasity Watkins
                                                 Plaintiff,
v.                                                            Case No.: 1:18−cv−01297
                                                              Honorable Thomas M. Durkin
VHS West Suburban Medical Center, Inc., et
al.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 28, 2018:


        MINUTE entry before the Honorable Thomas M. Durkin:United States' motion to
dismiss for failure to exhaust administrative remedies [4] is granted without prejudice.
Motion hearing held on 2/28/2018. Mandatory disclosures are stayed. Discovery is stayed
pending the next status hearing. The United States of America terminated. Status hearing
set for 6/12/2018 at 09:00 AM.Mailed notice(srn, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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